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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CATHY CARTER,                                 )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )     Civil Action No.:
                                              )     1:20-cv-01674-TWT-JSA
                                              )
                                              )
PAUL HOWARD, in his individual and            )
official capacity,                            )
                                              )
      Defendants.                             )


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of Plaintiff’s

Subpoenas for Production of Documents was electronically served on the 6th day of

October, 2021 with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to all attorneys of record.

      Respectfully submitted this 7th day of October, 2021.

                                              /s/ Mario B. Williams
                                              Mario B. Williams (Ga # 235254)

HDR LLC
44 Broad Street NW, Suite 200
Atlanta, GA 30303
(404) 654-0288/(404) 592-6225 FAX
Mwilliams@hdrattorneys.com
